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UNITED STATES OF AMERICA

Lod

IN THE UNITED STATES DISTRICT COURT FOR THE

EASTERN DISTRICT OF VIRGINIA

Vv.

. JACK ROSGA,

a/k/a “Milwaukee Jack,”
(Counts | and 2),

THOMAS BENVIE,
aki Taz”
(Counts | and 2)

. WILLIAM DAVEY

a/k/a “Rebel”
(Counts 1-4)

MARK JASON FIEL
a/k/a “Jason”
(Counts 1.2 and 5)

MARK STEVEN FIEL
wWk/a “Snulf,”
(Counts |, 2 and 6),

HAROLD HERNDON,
Vk/a “Lil? Dave”
(Counts | and 2),

HARRY RHYNE MCCALL
(Counts 1-4)

. THOMAS PETRINI

wWk/a “Jo Jo”
(Counts | and 2)

MARK SPRADLING
Whk/a “Lytnin’,”
(Counts | and 2)

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Richmond Division

Criminal No. 3:10CR170

Count 1:
18 U.S.C. § 1962(d)
Conspiracy to Violate R.L.C.O.

Count 2:

18 U.S.C. § 1959(a)(6)
Conspiracy to Commit Violence
In Aid of Racketeering

Count 3:
18 U.S.C. §§ 1959 and 2
Violence in Aid of Racketecring

Count 4:

18 U.S.C. $$ 924(c) and 2

Possession of Firearms in Furtherance
of Crime of Violence

Count 5:
18 U.S.C. § 245(b)(2)(F)
Civil Rights Violation

Count 6:
18 U.S.C. § 1512(b)(3)
Witness Tampering

Count 7:

18 U.S.C. § 922(2)(1) and (3)
Possession of Firearm by Felon and
Unlawful User of Controlled Substances
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10. CHRISTOPHER TIMBERS
Wk/a “Alibi”
(Counts ]-5 and 7),

11. JAMIE TOWNSEND
wk/a “Vern”
(Counts | and 2)

12. LESLIE WERTH
a/k/a “Les”
(Counts ]-4)

13. WILLIAM POWELL
wWk/a “Torch”
(Count 3)

ld. DENNIS HALDERMANN,

wWk/a “Chew Chew”
(Count 3)

Defendants.

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SUPERSEDING INDICTMENT
SEPTEMBER 2010 TERM — at Alexandria, Virginia

THE GRAND JURY CHARGES THAT:
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COUNT ONE
(Racketeering Conspiracy)

The Outlaws Enterprise
Atall times relevant to this Superseding Indictment:

1. The defendants JACK ROSGA, a/k/a “Milwaukee Jack.” THOMAS BENVIE,
wk/a “Taz,” WILLIAM DAVEEY, a/k/a “Rebel,” MARK JASON FIEL, a/k/a “Jason,” MARK
STEVEN FIEL, a/k/a “Snuff)” HAROLD HERNDON, wk/a “Lil Dave,” HARRY RHYNE
MCCALL, THOMAS PETRINI, a/k/a “Jo Jo.” MARK SPRADLING, a/k/a “Lytnin,”
CHRISTOPHER TIMBERS, a/k/a “Alibi,” JAMIE TOWNSEND, a/k/a “Vern,” and LESLIE
WERTH. a/k/a “Les,” and others known and unknown to the Grand Jury, including but not
limited to Joseph Allman, John Banthem a/k/a “Bull,” Chris Gagner, Mark Lester a/k/a “Ivan,”
Brett Longendyke, David Lowry a/k/a “Little David,” Michael Mariaca a/k/a “M&M,” Thomas
Mayne a/k/a “Tomeat,” Michael Pedini a/k/a “Madman,” and Michael Smith, were members and
associates of the American Outlaw Association, better known as, and hereinafter referred to as,
the “Outlaws.” The Outlaws was a criminal organization whose members and associates
engaged in criminal acts, involving murder, attempted murders, robberies, assaults, extortion,
arson, Witness intimidation, narcotics violations, illegal gambling, and weapons violations, and
which operated in the Eastern District of Virginia and elsewhere.

2. The “Outlaws,” including its leadership, members and associates, constituted
an “Enterprise” as defined by Title 18, United States Code, Section 1961(4) (hereinafter “the
Enterprise”), that is, a group of individuals associated in fact. At all times relevant and as

described in greater detail below, the Outlaws officers, members, prospects and/or probate
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members, and associates participated in the operation and management of the Outlaws’ affairs.
The Enterprise constituted an ongoing organization whose members functioned as a continuing
unit for the common purpose of achieving the objectives of the I:nterprise. This Enterprise was
engaged in, and its activities affected, interstate and foreign commerce.

3. Outlaws Structure and Hierarchy - The Outlaws is a highly organized criminal
enterprise with a defined, multi-level chain of command.

a. Within the United States, the Outlaws is composed of individual chapters
located throughout the country, All members of the Outlaws belong to a specilic chapter, and
answer to the officers of that chapter. Each chapter has a president, vice-president, treasurer and
enforcer, as well as general members.

b. The various chapters are grouped into color-coded regions headed by a
regional “boss” and several additional regional officers. The regions, and each chapter thercof,
ultimately fall under the authority of the national president. Since on or about November 4,
2006, JACK ROSGA, a/k/a “Milwaukee Jack,” served as the Outlaws National President.

c. The national president is elected by all members of the Outlaws and wields
considerable influence in the ongoing operations af the organization,

d. ach region is headed by an exccutive body whose members are elected
from the members within that region. Those regional “bosses,” in turn, answer to the Outlaws
National President, JACK ROSGA, a/k/a “Milwaukee Jack.” These regional groups hold regular
mectings, usually in a secure location to avoid law enforcement infiltration. An officer of each
chapter within the region is required to be in attendance as the chapter representative. [tis the

policy of the Outlaws organization that only the C hapter presidents are advised when these

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meelings are scheduled, and they are prohibited from informing anyone about these regional
meetings.

c. The Copper Region covers North Carolina, South Carolina, and Virginia,
and is comprised of seven (7) chapters. Within the Copper Region, Chapter mectings are held
regularly and are referred to as “church.” Only full, patched, members are allowed to attend
"church."

4, Outlaws Membership Requirements and Procedures - Outlaws Members
must be male, over the age of twenty-one, and are required to own an American-made
motorcycle. Probationary or prospective members (hereinafter referred to as probationary
members) are brought into chapters through a lengthy, phased process designed to measure a
potential member's commitment to the Outlaws and to guard against law enforcement
infiltration. After associating with the Oudaws for a period of time, an individual may be
identified as an “Official Hangaround” and may do menial tasks and other duties to gain the
respect of the members. Gencrally, after a period of several months or as long as one year, an
Official Hangaround may be sponsored by an Outlaws member and may become a probationary
member for that chapter. While probating, a probationary member must follow the orders of full-
patched members and run various errands. This can include participation in legal and illegal
activities. After a minimum of six months, if the probationary member receives the unanimous
vote of all chapter members, he is allowed to become a full member of the Oulaws.

3. Charged Defendants’ and Co-Censpirators Positions Within the Enterprise -
Leading up to and including June 15, 2010, the defendants and co-conspirators in Count One

maintained the following roles within the Outlaws Enterprise:
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a. JACK ROSGA, a/k/a “Milwaukee Jack,” serves as the National Boss of
the Outlaws organization and is also a member of the Gold Region, Milwaukee, Wisconsin
Chapter.

b. Joseph Allman is an Outlaws member in the Red Region and held a
position in the Maine Chapter, previously serving as President and Enforcer.

c. John Banthem, a/k/a “Bull,” is an Outlaws member in Montana and is the
president of a new prospective chapter in Montana.

d. THOMAS BENVIE, a/k/a “Taz,” is an Outlaws member in the Red region
and currently serves as President of the Maine Chapter.

e. WILLIAM DAVEY, a/k/a “Rebel,” was an Outlaws member in the
Copper Region until 2010 in the Asheville, North Carolina Chapter, and he was formerly the
Chapter Enforcer in Asheville, North Carolina.

f. MARK JASON FIEL, a.k.a “Jason,” is a former Outlaws member in the
Copper Region (formerly Region Vice president) and a former leader in the
Manassas/Shenandoah Valley Chapter.

v. MARK STEVEN FIEL, a/k/a “Snulf,” is an Outlaws member in the
Copper Region and serves as President of the Manassas/Shenandoah Valley Chapter.

h. Chris Gagner is an Outlaws member in the Copper Region and serves as
the President and ‘Treasurer of the Asheville, North Carolina Chapter.

i. HAROLD HERNDON, wk/a “Lil’ Dave,” is an Outlaws member and is
currently the Copper Region Vice-President and a member of the Lexington, North Carolina

Chapter.

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j. Mark Lester, wk/a “Ivan,” is an Outlaws member in the Knoxville,
Tennessee Chapter and served as the Boss of the Grey Region until early 2010.

k. Brett Longendyke is an Outlaws member in the Copper Region and serves
as the Manassas/Shenandoah Valley Chapter Enforcer.

1. David Lowry, a/k/a “Little David,” is an Outlaws member in the Charlotte,
North Carolina Chapter and was the Copper Region Boss.

m. Michael Mariaca, a/k/a “M & M,” is an Outlaws member and serves as the
President of the Rock Hill, South Carolina Chapter and Copper Region Enforcer.

n. Thomas Mayne, a/k/a “Tomeat,” was an Oullaws member in the Red
Region and served as the Regional Treasurer. Mayne formerly served as the Red Region
Enforcer.

0. HARRY RHYNE MCCALL is an Outlaws member in the Copper Region,
Lexington, North Carolina Chapter.

p. Michael Pedini, a/k/a “Madman,” is an Outlaws member in the Red
Region and a former Enforcer in the Northern Maine Chapter.

q. THOMAS PETRINI, a/k/a “Jo Jo,” is a former Outlaws member in the
Copper Region, Manassas/Shenandoah Valley Chapter.

r. Michael Smith is an Outlaws member in the Copper Region and serves as
the President of the Hickory, North Carolina Chapter.

Ss. MARK SPRADLING, a/k/a “Lytnin,” is an Outlaws member in the

Hickory, North Carolina Chapter and serves as Treasurer of the Copper Region.
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tattoos on their person, and engravings on their motorcycles, related to membership in the
Enterprise, including:

(1) = The “Snitches Are A Dying Breed” patch signifies the Outlaws’
commitment to identify, expel, and, if necessary, murder individuals associated with the
motorcycle club who cooperate with law enforcement;

(2) The AHAMD tattoo or engraving signifies “All Flell’s Angels
Must Die”;

»

(3) The “ADIOS” tattoo or engraving signifies “Angels Die In Oudaw

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States,” in reference to the Hell’s Angels MC;

(4) The “GFOD” patch signifies “God Forgives, Oudaws Don’t,”
which references an event where several Outlaws members were murdered in Charlotte, North
Carolina. The patch naw references a revenge philosophy of the Outlaws Enterprise; and,

(5) The “North By God Carolina” engraving that includes the “By
God” saying referencing “Bring Your Gun Or Dic.”

b. Outlaws Probationary Members and Official Hangarounds ~ Outlaws
probationary members and official hangarounds wear vests displaying patches identifying their
status and affiliation with the Outlaws Enterprise.

Cc. Females Associated with Outlaws — Females, though excluded from
membership, may wear vests with patches reading "Property of Outlaws." Females associated
with members, pledges or associates are referred to as "Old Ladies."

7, Funding the Outlaws’ Operation Through Dues, Taxes, and Gambling

Devices - A key component to the regional and national operation of the Outlaws is the payment

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probationary members, and official hangarounds were encouraged to maintain recruitment efforts
aimed at strengthening the individual Chapters and furthering the Outlaws’ goal of achieving
superiority as an organization in specific areas and, in turn, to infuse more funds into the coffers
used to fund the operation of the Outlaws enterprise. In pursuing this organizational goal,
members, probationary members, and official hangarounds of the Outlaws Enterprise engaged in
criminal acts, involving murder, attempted murder, assault, robbery, extortion, arson, and witness
intimidation, such acts aimed at expanding their areas of control or “turf,” and enhancing the
status of the Outlaws enterprise in the community.

9. Outlaws’ Rules of Conduct and Punishment - Members, probationary
members, and official hangarounds associated with the Outlaws are expected to abide by rules
and codes of conduct, both written and unwritten. Accordingly, discipline of members is a
central feature of the Enterprise. The Outlaws punish its members for acting contrary to the rules
or codes of the Enterprise, including discipline for missing meetings, not paying dues ina timely
manner, being disrespectful to other “Patched” members, failure to attend organized trips
(referred to as “runs”), and other violations. The punishment ranges from monetary fincs, being
returned to probate status, “beat downs” (assaults), and, ultimately, loss of a member's “patch”
and being kicked out of the club. For egregious violations, a member or probationary member
can be declared “out in bad standing” and subjected to a beating which is intended to cause
scrious physical injury or death. A member who is declared “out in bad standing” also will have
any club-related tattoo covered by a method known as being “blacked out.”

10. Outlaws? “Calls for Assistance” - One of the more serious offenses that would

result in severe punishment is a member’s failure to respond to a “call for assistance.” When a

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member, probationary member, or official hangaround receives a “call for assistance,” that
member is expected to respond regardless of the nature of the request, which could include
intimidation, assault, and even murder on behalf of or at the direction of the Enterprise. Outlaws
members, probates, and official hangarounds are required to respond to “calls for assistance” in
order to maintain or increase their position in the Outlaws Enterprise.

11. Monitoring and Rewarding Outlaws Members’ Unlawful Acts - The Outlaws
Enterprise monitors, advertises, and rewards members, probationary members, and official
hangarounds’ responses to “calls for assistance,” acts in threatening others, and other violent acts
performed on behalf of the gang. This process revolves around enhancing or reducing specific
member's status within the Enterprise in the following general fashion:

a, Violent actions by members, probationary members, and official
hangarounds are discussed between members at Chapter and Regional mectings to determine
whether those individuals should receive recognition and appreciation for their violent acts in
support of another member of the Outlaws Enterprise. In the event of a dispute about whether an
Outlaws’ member should receive such an award or recognition, the matter will be reviewed by
the Outlaws national hierarchy.

b, When it is determined that members, probationary members, or official
hangarounds responded to “calls for assistance” and/or engaged in violent acts in support of the
organization, those individuals receive recognition and enhance their position within the Oudaws
enterprise, Such recognition includes receiving additional patches with “SS”, and other patches
and pins as designated by OMG leadership, which signifies having done violent acts on behalf of

the “Outlaws.”
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c. When members, probationary members, or official hangarounds fail to
respond to “calls for assistance” or lo engage in violent acts on behalf of the Outlaws Enterprise,
those individuals are often punished by the Outlaws enterprise. ‘The punishment includes a
member's return to probate status, the loss ofa “One Percenter” patch, or an assault by other
Outlaws members.

12. Coordinating Outlaws’ Responses to Rival Gangs, Law Enforcement, and
Others - The members, probationary members, and official hangarounds also coordinate their
responses to actions by rival motorcycle gangs, law enforcement, or others that may affect the
operation of the Outlaws Enterprise. The Outlaws Chapter and Regional meetings serve as a
forum to discuss possible responses with the goal of furthering the Outlaws Enterprise and
supporting the standing of its members. These coordinated responses and support include:

(i) retaliating against rival motorcycle gangs; (ii) refusing to cooperate with law enforcement in
the investigation of violent acts by members, probationary members, and official hangarounds;
(iii) developing and organizing agreed stories, alibis, or statements concerning violent acts by
members, probationary members, and official hangarounds; (iv) intimidating witnesses of violem
acts by members, probates, and official hangarounds; and (v) collecting fees from members to
pay for legal representation of members, probationary members, and official hangarounds
investigated or charged with a violent act.

13. Using Firearms to Protect the Security of the Enterprise - Firearms and other
dangerous weapons are regularly used by members, probationary members, and official
hangarounds to further and protect the interests of the Outlaws Enterprise, and used and

possessed in connection with the Outlaws’ assaults and attacks on rival gang members and

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others. Outlaws events or functions are routinely guarded by armed members. To facilitate the
possession of and access to the firearms, members communicate among themselves concerning
the acquisition, transfer, and maintenance of firearms for the Outlaws enterprise. The members
also routinely transfer and possess firearms without regard to the lawfulness of a specific
member's possession of the firearms. Further, many of the Outlaws Chapters established
procedures to allow prohibited persons full access to firearms at many of the clubhouses, while
still allowing those prohibited persons to deny any unlawful possession of the firearms in the
event of law enforcement detection.

14. Distributing, Concealing, and Using Controlled Substances in Connection
With the Enterprise — {legal drugs are regularly distributed among Outlaws either for personal
consumption or for distribution to others. Members periodically refer to illegal drugs as “party
favors” and Outlaws events or lunctions are routinely supplied with illegal drugs by members.
Membership in the Oudaws enterprise facilitates the distribution of illegal drugs by providing
known sources for drugs and safe locations for distributing, storing, and using drugs. The
members communicate when new drug distribution opportunities arise. They also offer other
members “at cost” prices for illegal drugs, including cocaine, pills, marijuana and other illegal
substances.

15. Coordinating With Ally Motorcycle Clubs - At various times and to further the
goals of the Outlaws Enterprise, members formed an alliance with other “]%er” motorcycle

clubs and/or their associates to fight a common enemy, such as the HAMC. The Pagans MC, the

Untamed MC, the Devils Grip MC, and others are all included within these alliances.

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Purposes and Objectives of the Outlaws Enterprise
16. The purposes of the Outlaws Enterprise included the following:

a. Enriching, preserving, expanding, and protecting the power, territory, and
prestige of the Outlaws Enterprise through the use of intimidation, violence, and threats of
violence involving murder, attempted murder, assault, robbery, arson, narcotics distribution and
weapons violations.

b. Funding the operation of the Outlaws Enterprise through the collection of
dues from members and probationary members, and by employing other funding methods,
including gambling, and the imposing of “taxes.”

c. Keeping intended rivals and victims in fear of the Outlaws Enterprise and
in fear of its members and associates through the use of intimidation, violence, and threats of
violence.

d. Encouraging and facilitating an atmosphere of violence within the Outlaws
Enterprise by giving status to those members who commit violent acts for the Enterprise.

e. Hampering law enforccment’s ability to respond to, prevent, and
effectively investigate the Outlaws Enterprise’s unlawful conduct through obstruction of justice,
fabricating alibis and stories, and intimidating witnesses.

f. Maintaining the security of the Outlaws Enterprise and avoiding law
enforcement scrutiny by engaging in illegal drug trafficking among the members of the Outlaws

Enterprise.
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Means and Methods of the Outlaws Enterprise
17. As part of the ongoing affairs of the Outlaws Enterprise the defendants and their
associates, in conducting, participating, and achieving the purposes of the Enterprise and
racketeering conspiracy, would:

a. Fund the operation of the Outlaws Enterprise through the collection of
dues from members and probationary members and a variety of other methods, including the
imposition of “taxes,” gambling, and others.

b. Expand the Outlaws Enterprise through the recruitment of potential
members for the Outlaws and engage in a vetling process designed to identify potential members
who would enhance the strength and illegal activities of the enterprise while ferreting out
infiltration by law enforcement or other undercover operatives,

c. Use intimidation, violence, and threats of violence against suspected
members of rival gangs and others to preserve, enhance, and protect the Enterprise’s territory and
activities in the community.

d. Encourage violent and unlawful acts by members of the Enterprise by
disseminating orders of violence through the Outlaws hierarchy, communicating with one
another about unlawful acts, rewarding members for unlawful acts that further the Enterprise and
its members, and punishing members who fail to engage in such acts when given the opportunity.

€. Use intimidation, violence and threats of violence against potential

witnesses (o thwart law enforcement efforts to successfully prosecute members of the Outlaws

Enterprise for their criminal activities.

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is Coordinate responses, stories, and statements concerning violent acts by
members in an effort to hamper law enforcement investigations and collect fees from members to
pay for legal representation of members being investigated or charged with violent acts.

g. Maintain the security of the Enterprise and avoid law enforcement scrutiny
by engaging in illegal drug trafficking among the members of the Enterprise.

The Outlaws Racketeering Conspiracy
18. Beginning in or about 2005, the exact date being unknown to the Grand Jury, and

continuing thereafter up to and including June 15, 2010, in Richmond, Virginia, in the Eastern
District of Virginia, and elsewhere within the jurisdiction of the Court, the defendants JACK
ROSGA, a/k/a “Milwaukee Jack,” THOMAS BENVIE, a/k/a “Taz,” WILLIAM DAV EY, vk/a
“Rebel,” MARK JASON FIEL, a/k/a “Jason,” MARK STEVEN FIEL, a/k/a “Snuff,” HAROLD
HERNDON, wk/a “Lil” Dave,” HARRY RHYNE MCCALL, THOMAS PETRINI, a/k/a “Jo Jo,”
MARK SPRADLING, a/k/a “Lytnin,” CHRISTOPHER TIMBERS, a/k/a “Alibi,” JAMIE
TOWNSEND, a/k/a “Vern,” and LESLIE WERTH, a/k/a “Les,” being persons employed by and
associated with the Enterprise known as the “Outlaws,” as described in Paragraphs | through 17,
which was an Enterprise engaged in, and the activities of which affected, interstate and forci en
commerce, did unlawfully, knowingly and intentionally combine, conspire, confederate and agree
with cach other and with other persons, known and unknown to the Grand J ury, including but not
limited to Joseph Allman, John Banthem a/k/a “Bull,” Chris Gagner, Mark Lester a/k/a “Ivan,”
Brett Longendyke, David Lowry a/k/a “Little David,” Michael Mariaca a/k/a “M&M,” Thomas
Mayne wk/a “Tomeat,” Michael Pedini a/k/a “Madman,” and Michael Smith, to violate Title (8,

United States Code, Section 1962(c), that is, to conduct and participate, directly and indirectly, in

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the conduct of the affairs of that Enterprise through a pattern of racketeering activity, consisting

of multiple acts indictable under the following provisions of federal law:

A. Title 18, United States Code, Section [5 12(b)(3) (Witness Tampering);
B. Title 18, United States Code, Section 1952(a) (Interstate Travel in Aid of

Racketeering Enterprise);
C. Title 18, United States Code, Section 1955 (Illegal Gambling Business);
D. Title 18, United States Code, Section 195 1(a) (Hobbs Act I:xtortion);
and multiple acts involving violations of the following provisions of state law:
A, Murder in violation of:
Va. Code Ann. §§ 18.2-18; 18.2- 22; 18.2-26; 18.2-32:
17-A Maine Rev. Stat. Ann. §§ 151; 201;
N.C. Gen. Stat. § 14-2.4: 14-17,
3. Arson in violation of:
Va. Code §§ 18.2-80; 18.2-22
N.C. Gen. Stat. §§ 14-62; [4.2.4
S.C. Code $§ 16-11-110; 16-17-410
C, Kidnapping in violation of Tenn. Code Ann. § 39-13-303.
D. Robbery in violation of:
Va. Code $§ 18.2-58; 18.2-22.
N.C. Gen, Stat. §§ 14-87.1.; 14-2.4;
S.C. Code §§ 16-11-325: 16-17-410

Conn. Code § 53a-133, 53a-48:

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17-A Maine Rev. Stat. Ann. § 651:
Minn. Stat. § 609.24
Ir. I:xtortion in violation of Va. Code §§ 18.2-59: 18.2-22;
and multiple acts involving the receiving, concealing, buying, selling, and otherwise dealing in
controlled substances in violation of Title 21, United States Code, Sections 841(a)(1), 846, and
$56(a)(2).
19, It was a part of the conspiracy that each defendant agreed that a conspirator would
commit at least two acts of racketeering activity in the conduct of the affairs of the Enterprise.
Overt Acts
In furtherance of the racketeering conspiracy and to effect the purposes of the Enterprise,
the following overt acts, among others not listed herein, were committed by the defendants and
other conspirators in the Eastern District of Virginia and elsewhere:

June 2005; Attempted Murder of Diablos MC Member in Maine and Stealing the Victim's
Vest While He Was Unconscious.

20. Onor about June 22, 2005, Joseph Allman and other Outlaws members struck
Diablos MC (a HAMC support club) member H.T. with their vehicle as the victim was riding his
motorcycle in Standish, Maine near his home in Ossipee, New Hampshire. As a result of the
attack, ELT. wrecked his motorcyele and was rendered unconscious. Allman and another
Outlaws member removed H.T.’s Diablos MC vest and left the victim on the side of the road.

21. Onor about October 5, 2009, and on or about October 9, 2009, while at the
Petersburg Outlaws clubhouse, Allman described an attack that he and other Outlaws members

had executed in 2005, where they struck a Diablos MC member with their vehicle, causing him

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to wreck his motorcycle and suffer serious injury. Asa result, Allman acquired a Diablos MC
patch,

March 2006 - September 2008: Efforts by the Outlaws Enterprise to Obtain a Foothold in
Virginia by Threatening and Planning Acts of Violence Against Rival Motorcycle Gangs.

22. In or about March 2006, defendants MARK STEVEN FIEL, a/k/a “Snuff,” David
Lowry, wk/a “Little David,” and Mark Lester, a/k/a “Ivan,” organized an Outlaws Chapter in
Manassas, Virginia under the supervision of Lester, who was in charge of the Gray Region which
sought to establish a presence in the Commonwealth of V irginia at that time. Before this effort,
the Outlaws did not have a chapter in the Commonwealth of ¥ irginia, This effort originated with
an agreement reached in the Spring of 2006 with the Pagans MC to allow the Outlaws to
establish Chapters in Virginia.

23. Atsome point prior to March 18, 2006, the exact date being unknown, Outlaws
Gray Region Boss Lester, MARK STEVEN FIEL, a/k/a “Snuff,” Michael Mariaca, a/k/a "M &
M,” LESLIE WERTH, a/k/a “Les,” various members of the Pagans MC national leadership, and
others developed and agreed to participate ina plan to expand the Outlaws enterprise into the
Commonwealth of Virginia. The plan involved a joint venture with the Pagans MC to enter the
“Cycle Expo” taking place in Richmond, V irginia. The purpose of this venture was to make a
show of force by the Outlaws members, to engage and force rival HAMC members out of the
area, and to facilitate the expansion of the Outlaws Enterprise.

24. Onor about March 18, 2006, Lester, Mariaca, WERTH, and others traveled to the
Cycle Expo in Richmond, Virginia. Other Outlaws members had already infiltrated the Cycle

Expo and were awaiting arrival of Lester and the others to begin the violent engagement of the

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HAMC. Minutes before their arrival at the Cycle Expo, several law enforcement officers
identified the threat and refused to allow the identified hoard of Outlaws and Pagans entry into
the event. Escorted by police officers, Lester was allowed to enter the Cycle Expo and escort the
implanted gang members away from the event.

25. In or about April 2007, members of the Outlaws threatened members of the
Virginia Raiders, an HAMC support club, and ordered these rival gang members to remove their
patches and discontinue their support of the HAMC. In response to these threats, the Virginia
Raiders MC disbanded.

26. In or about June 2007, following the shooting death of Outlaws member FV, bya
Renegades MC member (associated with the HAMC) at the Crazy Horse Strip Club in Forest
Park, Georgia, Outlaws National Boss JACK ROSGA, a/k/a “Milwaukee Jack,” gave the “green
light” on Renegades MC, meaning that Outlaws members were allowed to assault and kill
Renegade MC members. ROSGA further told Manassas Outlaw member MARK JASON FIEL,
a/k/a “Jason,” that now was a good time to “clean your own house,” that is, to kill anyone that
they thought might be cooperating with law enforcement, stating that it could be blamed on the
Renegades MC.

27. In or about July 2007, defendant MARK STEVEN FIEL, a/k/a “Snuff,” ordered
the Northern Virginia Chapter of the Black Pistons to hunt and remove the “Titans MC” patches,
The Titans MC was affiliated with the HAMC and posed a threat to the Outlaws expansion into

the Richmond, Virginia area.
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28. On or about September 21, 2007, defendants Brett Longendyke, MARK JASON
FIEL, a.k.a “Jason,”and THOMAS PETRINI, a/k/a “Jo Jo,” assaulted another Outlaws
probationary member for disrespecting a “patched” Outlaw member.

29. On or about December 11, 2007, defendant Brett Longendyke stated to other
Outlaws members that he would kill anyone who he believed was “snitching” on the Outlaws.
Longendyke went on to say that he would take a life sentence for committing that act.

30. On or about September 20, 2008, defendant MARK STIEVEN FIEL, a/k/a “Snuff,”
and a Pagans member requested undercover agents affiliated with the Mongols MC to assist ina
show of force at the Dinwiddie race track to confront HAMC members and members of the
newly-formed Merciless Souls MC, an HAMC support club in the Richmond, Virginia area.

31. On or about September 20, 2008, in exeess of 50 members from the Outlaws and
Pagans Motorcycle Clubs confronted the HAMC and Merciless Souls MC members in
Dinwiddie, Virginia. A standoff occurred, but no assault took place due to an overwhelming
presence of law enforcement officers.

November 2008 - May 2009: Outlaws Members’ Assault of a Black Male in

Fredericksburg, Virginia and Attempted Obstruction of Justice Actions Aimed at
Hampering Law Enforcement Investigation of Assault.

32. Onor about November 20, 2008, Manassas Outlaws members MARK JASON
FIEL, a/k/a “Jason,” and CHRISTOPHER TIMBERS, a/k/a “Alibi.” assaulted a black male ata
local bar called the “Hard Times Café” located in F redericksburg, Virginia. MARK JASON
FIEL, a/k/a “Jason,” called the victim over to his lable 10 request a light for his cigarelte. When
the victim complied, MARK JASON FIEL, vk/a “Jason,” struck him in the face with his fist. As

the victim attempted to get up off the floor, TIMBERS struck the victim again in the face. The

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being lured into the Cockades Bar where they were assaulted by Outlaws members and their
associates.

39. Onor about March 14, 2009, the confrontation moved outside the Cockades Bar.
As the rival members faced each other in the parking lot, WERTH and Mariaca, accompanied by
other Outlaws members and assisted by Pagans MC members, drew their firearms and threatened
members of the rival gang members, who were also armed. Before any more violence occurred,
local police arrived at the scene and the standoff ended. Local law enforcement seized a knife
and “brass knuckles” from DAVEY inside the bar.

February 2009 - September 2009: Ongoing Efforts by the Outlaws to Expand the
Organization By Encouraging, Planning, and Executing Acts of Violence and Threats
Directed at HAMC and Other Rival Motoreycle Gangs.

40, On or about February 28, 2009, Outlaws Copper Region Boss LESLIE WERTH,
vk/a “Les,” organized an effort to locate and assault HAMC members at local bars. Participants
included Copper Region Treasurer MARK SPRADLING, a/k/a “Lytnin,” probationary and
undercover Outlaws members. WERTH directed the participants that when confronting the
HAMC members to not just assault them, but to kill them.

41. On or about March 1, 2009, Outlaws Copper Region Boss WERTH told an
undercover Outlaws member that beatings and assaults on the HAMC members was not enough;
rather, “they” were planning on killing the HAMC members.

42. On or about March 6, 2009, while at Daytona Bike Week, Outlaws Copper
Region Boss WERTH, Copper Region Enforcer Michael Mariaca, a/k/a “M & M,” and others

organized a group to locate and assault HAMC members that were located on Main Street.
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also discussed his involvement in the armed assault of a HAMC prospect in Rock Hill, South
Carolina. During the meeting. the Outlaws members also discussed the conflict with the HAMC
and WERTH indicated that there would be “no more free travel passes,” meaning rival gangs
would no longer be allowed to travel through an Outlaw controlled area without being attacked.
September 2009 - October 2009; HAMC Members’ Assault of Two Outlaws from Florida,

and Events Leading to Conspiracy and Attempt to Murder Rival HAMC Member in
Maine.

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On or about September 10, 2009, in New Haven, Connecticut, wo Florida
Outlaws members were assaulted by HAMC Members at a gas station, resulting in the two
Outlaws members going to a hospital for treatment. The assaulted Ouaws members’ patches
were taken by the HAMC members. A member of the Florida Outlaws Chapter was present and
coordinated with the local Outlaws Regional Boss, and others from the Red Region, to arrange
for an act of revenge against the HAMC for the assaults.

34. On or about October 4, 2009, the exact date being unknown, ROSGA asked
Michael Pedini, a/k/a “Madman,” to personally take revenge on the HAMC for the assault of the
two Florida Outlaws members. THOMAS BENVIE, a/k/a “Taz,” told an undercover Quilaws
member that “Jack is all over Madman about this!”

55. On or about October 5, 2009, at the Outlaws Clubhouse in Petersburg, Virginia,
Joseph Allman discussed prior assaults of HAMC and related HAMC support clubs. Allman
told an undercover Oudaws member that he is waiting on other members of the Outlaws to finish

“taking care of business” in Maine and then will meet up with him at the Outlaws Clubhouse in

Petersburg, Virginia.
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56. On or about October 8, 2009, Maine Outlaws member Thomas Mayne, a/k/a
“Tomeat,” and Pedini surveilled, conlronted, and shot HAMC member G.W. outside of the
HAMC Clubhouse in Canaan, Maine. As a result, G.W. was hospitalized for treatment of
numerous gunshot wounds and suffered serious injury.

37. On or about October 9, 2009, Allman told an undercover Oudaws member about
the shooting in Canaan, Maine. Allman indicated that he is the former Outlaws Boss in Maine
and had been involved in ordering the HAMC assault.

38. On or about October 12, 2009, during telephone calls to an undercover Outlaws
member in Petersburg, Virginia, Pedini stated that he may have to leave town in a hurry and is
wondering if he could stay at the Petersburg Clubhouse. Pedini further stated that he did not like
all of the attention up in Maine and that he did not want to talk about the HAMC assault over the
telephone.

59. At some point prior to November 23, 2009, the exact date being unknown, Pedini
and Mayne added new “SS” patches to their Outlaws patch, signifving their involvement in the
Canaan, Maine shooting of the HAMC victim.

October 2009: Continued Directives from Outlaws Leadership Regarding Assaults on
Compcting Gang Members.

60. On or about October 3, 2009. at the Copper Region Bosses Meeting. Copper
Region Boss LESLIE WERTH, a/k/a “Les,” stated that Outlaws National Boss ROSGA declared
“war” onthe HAMC. WERTH further explained that this decision was decided by the “Big

Table.” comprised of all Outlaws Regional Bosses. During the mecting, Outlaws members

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discussed the beating of HAMC members, taking HAMC patches, and the buming or destroying
of HAMC patches.

G1. = On or about October 17, 2009, at the Outlaws Clubhouse in Petersburg, Virginia,
MARK STEVEN FIEL, a/k/a “Snuff,” instructed undercover Outlaws members to assault local
HAMC members, but not to kill them.

62, On or about October 31, 2009, during a conversation with an undercover Outlaws
member, Copper Region Enforcer Michael Mariaca, a/k/a *M & M,” discussed planning future
assaults on the HAMC, including the use of firearms and explosives. Mariaca talked about the
“war” with the HAMC being issued by Outlaws National Boss ROSGA. Mariaca stated that
Copper Region Boss Lowry will support any assaults committed by Outlaws in the Copper
Region and he will take away the “1%-er" patch from any Outlaw that does not assault a HAMC
member when given the opportunity to do so. During the same conversation, Mariaca talked
with a Colorado Outlaw member about how to assault the HAMC and the HAMC Clubhouse in
the Rock Hill, South Carolina area.

63. On or about November 14, 2009, at the Copper Region Bosses Mecting in
Charlotte, North Carolina, Copper Region Boss Lowry stated that there will be no new clubs
allowed in open arcas where there are Outlaw Chapters unless they wear an Outlaw Support
Patch. Ha club is already in existence and refused to pul on the Outlaws Support Patch, they

would be shut down by the Oudaws.

64. On or about November 21, 2009, while at the Asheville, North Carolina Toy Run,

Asheville Outlaws Boss Chris Gagner told the President of the Southern Patriots Motorcycle
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Club that if they continued to support the HAMC, the Outlaws will come to town and shut the
club down.

65. In or about November 2009, Outlaws Rock Hill Vice President WERTH, Mariaca,
and other members approached and confronted LLAMC members near a HAMC affiliated bar in
Rock Hill, South Carolina, During the confrontation, the Outlaws members were armed with
dangerous weapons. During a conversation with an undercover Outlaws member, WERTH
described the confrontation.

66.  Onor about December 10, 2009, Manassas Oulaw member MARK STEVEN
FIEL, a/k/a “Snuff,” described an assault he had just committed on an individual wearing an “81”
support shirt. “81° refers to the cighth and first letters of the alphabet, Hand A.

67. On or about December 13, 2009, Mariaca. Smith, WERTH, and a number of other
Outlaws Copper Region members were involved in a dispute in Rock Hill, South Carolina with
members of the local HAMC. Asa result, the Rock Hill, South Carolina Toy Run was shut
down by law enforcement because of potential violence. Following the confrontation, one of the
Outlaws members was arrested in possession of “brass knuckles.”

November 2009 - March 2010; Outlaws Members Conspire to Expand Gambling Activities
to the Undercover Outlaws Chapter Clubhouse in Petersburg, Virginia.

68. On or about November 20, 2009, at the Lexington, North Carolina Chapter
clubhouse, Outlaws members discussed the use of legal gambling machines inside their
clubhouse, and that the proceeds are used to pay chapter dues and cover all clubhouse bills.

69. On or about January 16, 2010, Ouldaws Copper Region Viee President HAROLD

HERNDON, a/k/a “Little Dave,” told undercover Outlaws members that the Lexington Chapter

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had made approximately $24,000 profit from the use of illegal gambling machines since April
2009, Outlaws Lexington Chapter Boss JAMES TOWNSEND, a/k/a “Vern,” HERNDON, and
other members agreed to facilitate the delivery of additional illegal gambling machines to the
undercover clubhouse. They also discussed that the chapter must make a 60%-40% split of the
gambling proceeds with the person who owns the machines.

70. On or about February 6, 2010, at the direction of HERNDON and TOWNSEND,
two illegal gambling machines were transported from North Carolina to Virginia and delivered to
the undercover Outlaws Clubhouse in Petersburg, Virginia. When the machines were delivered,
Outlaws associate D.S. discussed with undercover Outlaws members how the machines operated
and the 60%-40% split of the gambling proceeds.

71. On orabout March 12, 2010, TOWNSEND called an undercover Outlaws
member and asked the undercover to contact 1D.S. to arrange for the pickup of proceeds from the
illegal gambling machines in Petersburg, Virginia.

72. On or about March 23, 2010, two individuals arrived at the undercover Outlaws
Clubhouse in Petersburg, Virginia to collect profits from the illegal gambling machines. These

individuals retrieved $580 in cash to return to D.S.

 

December 23, 2009: Outlaws Member Mark Lester, a/k/a “Ivan,” Kidnaps and Threatens
an Undercover Knoxville, Tennessee Sheriff.

73. On or about December 23, 2009, Mark Lester, a/k/a “Ivan,” kidnapped and held
an undercover Knoxville, Tennessee Sheriff against his will and accused him of working for law
enforcement. Leading up to and at the time of the abduction, the sheriff was posing as an

Outlaws member acting in an undercover capacity. Lester, who was armed at the time,
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threatened to injure the victim and refused to allow him to leave the room where he was being
held. Lester also took the victim's patched vest or “colors.”

74. Onor about April 10, 2010, David Lowry, a/k/a “Little David,” informed Outlaws
members in the Copper Region that every Outlaws member would be “taxed” approximately $75
to contribute to the legal defense fund for Lester, who was charged with robbery and kidnapping
in Knoxville, Tennessee.

January 2010 - April 2010; Outlaws Stepping Up Efforts Against HAMC Members,
Including Instructions From Outlaws Leadership to Conduct Surveillance and Attack
HAMC Members.

75, On or about January 1, 2010, Michael Smith told undercover Outlaws members
how to make an explosive device for use in attacking HAMC members, Copper Region Boss
LESLIE WERTH, a/k/a “Les,” and MARK STEVEN FIEL, a/k/a “Snuff,” were present during
this conversation.

76. Leading up to and including January 23, 2010, Outlaws Copper Region Boss
David Lowry, a/k/a “Little David,” with the approval from National President ROSGA, made
arrangements for the assembly of approximately 100 Outlaws members from different regions in
the United States to travel to Charlotte, North Carolina in order to confront HAMC members,
who Lowry believed would attend the Easyrider Bike Expo.

77, On or about January 23, 2010, Outlaws members and others from Tennessee were
stopped by law enforcement following their departure from the Charlotte, North Carolina Easy
Rider Expo. These Outlaws members were found in possession of six firearms.

78. On or about February 2, 2010, MARK SPRADLING, wk/a “Lytnin,” directed

payment of $450 from the Copper Region’s dues fund to post a bail bond for the Outlaws

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member who was arrested for firearms charges following the EasyRider Bike Expo in Charlotte,
North Carolina (referenced in the previous paragraph).

79. On or about February 13, 2010, Copper Region Enforcer Michael Mariaca, a/k/a
“M & M,” discussed plans with the undercover Oullaws members to use an explosive device to
destroy a tattoo shop owned by S.B.,a HAMC member in Richmond, Virginia. Mariaca told the
undercover Outlaws members that if they executed the plan on behalf of the Outlaws, they would
carn their “SS” bolts.

80. On or about February 27, 2010, at the Copper Region Open Air Meeting, the
Outlaws members and Leadership for the Copper Region met in Charlotte, North Carolina to
discuss regional issues concerning the Copper Region, as well as matters the members wish to be
brought to the attention of the Outlaws National Leadership during a subsequent national
mecting., All members of the Copper Region, except for one person, were present for this
mecting. Prior to and during this mecting:

a. Alf members (including undercover agents) were subjected to a strip
search conducted by Copper Region Enforcer Mariaca. Lowry explained that this search was
conducted because the Tennessee Outlaws Chapter had been infiltrated by an undercover officer
for the past 2 years.

b. Lowry and others discussed the HAMC’s suspected murder of Outlaws
member “Hojo” in Connecticut on February 9, 2010.

c. Outlaws members discussed conducting surveillance on HAMC members

and executing violent assaults on HAMC members.
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d. Outlaws members discussed how to earn the “SS” patch for acts of
extreme violence against rival clubs.

c. Lowry also discussed the need to destroy and/or burn houses around the
Charlotte, North Carolina Clubhouse because they could serve as locations from which HAMC
members could launch attacks against the Outlaws.

f One of the Ouldaws Enforcers for the Hickory, North Carolina Outlaws
Chapter instructed those present to be careful about what was discussed in such an open forum
about retaliating against HAMC because it would be considered conspiracy.

81. On or about February 27, 2010, MARK STEVEN FIEL, a/k/a “Snuff,” told
undercover Outlaws members that it was time to attack HAMC member S.B. FIEL described
how to use a high powered rifle from the bed ofa pickup truck to shoot S.B., while he smoked a
cigaretic on the porch of his tattoo shop in the Richmond, Virginia area.

82.  Onorabout March 26, 2010, Smith told undercover Outlaws members how to
make several different types of explosives for use in killing HAMC members in the Richmond,
Virginia area.

83. On or about March 27, 2010, Copper Region Enforcer Mariaca discussed the plan
to use explosives to attack HAMC member S.B. with an undercover Outlaws member. Mariaca
agreed with the plan and told the undercover agent to wait and see if Mariaca could obtain
“professional grade explosives.” Mariaca also discussed an alibi plan with the undercover agent
to use for the day of the bombing.

84. On or about April 10. 2010, Copper Region Enforcer Mariaca informed the

undercover Outlaws member that he had made contacts to locate explosives for the planned

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operation, as well as for his own use, but had not succeeded yet. Mariaca informed the
undercover agent that he would continue to work on the project.

85. On or about April 10, 2010, at the Copper Region Bosses Meeting in Lexington,
North Carolina, Copper Region Treasurer SPRADLING directed Outlaws members to conduct
more surveillance on the HAMC in order to facilitate assaulting them, All of the Copper Region
Chapter Bosses were present and participated in the discussions.

86. On orabout April 10, 2010, at the Copper Region Bosses Mecting in Lexington,
North Carolina, Gagner, in response to SPRADLING’S statements, produced a map which
highlighted the locations of the HAMC’s clubhouses and homes.

87. On or about April 17, 2010, in Minneiska, Minnesota, Outlaws members engaged
in a violent confrontation with members of the HAMC and the Outlaws members stole HAMC
“colors” or patches during the confrontation.

88. In or about May, 2010, Outlaws National President ROSGA made statements that
he possessed HAMC patches that were obtained by force by the Outlaws.

89. On June 15, 2010, ROSGA possessed HAMC patches within his residence within

the Outlaws Clubhouse in Milwaukee, Wisconsin.

March 2008 - May 2010: Ongoing Efforts by Regional and Local Outlaws to Provide
INegal Controlled Substances at the Outlaws Clubhouses for Distribution and Use by
Outlaws Members.

90. In or about April 2008, THOMAS PETRINI, a/k/a “Jo Jo,” maintained his
residence at the Outlaws Manassas Clubhouse, and possessed firearms in that clubhouse for the
protection of the Outlaws organization. PETRINI routinely used and sometimes distributed

illegal controlled substances inside the Manassas clubhouse to other members.

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91, On or about March 20, 2009, Brett Longendyke directed an undercover agent,
who at that time was a probationary member of the Outlaws, to purchase cocaine for Longendyke
and another Outlaws member. Longendyke provided money to the undercover member to
purchase approximately one gram of cocaine, and the undercover member witnessed Longendyke
then consume the cocaine.

92. On or about May 23, 2009, while at an event sponsored by members of the Pagans
MC, Brett Longendyke provided cocaine to several other Outlaw and Pagans MC members, and
directed an undercover Outlaws member, who was a probationary member at the time, lo
distribute the cocaine to the other members.

93, On or about September 12, 2009, THOMAS BENVIE, a/k/a “Taz,” informed an
undercover agent that Pedini had recently acquired three ounces of cocaine in Boston and
transported the cocaine to Maine. The undercover agent engaged Pedini in a conversation about
purchasing a small quantity of cocaine, and observed Pedini with a bag containing approximately
three ounces of cocaine. Pedini later distributed approximately one gram of cocaine from the
larger bag to the undercover agent for $75.00, Later that same day, Pedini distributed
approximately one-half ounce of cocaine to Joseph Allman.

O4, On or about October 17, 2009, Chris Gagner distributed approximately 66
Oxycodone pills and 6 “muscle relaxers” to an undercover agent at an Enterprise function in
Petersburg, Virginia.

93. On or about October 17, 2009, while at an Outlaws’ funetion in Petersburg,

Virginia, MARK STEVEN FIEL, a/k/a “Snult.” directed an undercover agent to purchase

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approximately 3.5 grams of cocaine [rom an associate outlaw motorcycle gang member. The

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undercover agent purchased the cocaine as directed by FIEL, who immediately consumed some
of the cocaine. Throughout the function, FIEL distributed small quantities of cocaine to other
Outlaws members, and instructed the undercover agents to distribute small quantities as well.

96. Onor about November 13, 2009, Gagner distributed approximately 20 pills 10 the
undercover agent at the Charlotte, North Carolina Enterprise clubhouse.

97. On February 20, 2010, undercover agents met Outlaws prospective member John
Banthem, a/k/a “Bull,” from the Montana Outlaws chapter at an Enterprise function in
Waterbury, Connecticut. Banthem described his acquisition of marijuana, his history of
distributing marijuana, and his plan to establish a large marijuana distribution network from
Montana to Maryland. Banthem stated that he would be in the Virginia area soon and offered to
sell the undercover Outlaws members a pound of high grade marijuana.

98. On or about March 29, 2010, Banthem distributed approximatcly 2.85 pounds of
marijuana to an undercover Outlaws member in Petersburg, Virginia for an agreed price of
$13,680.00. The undercover agent made a partial payment for the marijuana at the time of the
distribution with a promise to pay the remainder at a later date. On or about April 12, 2010, the
undercover agent wire transferred approximately $2,500.00 to Banthem as partial payment for
the marijuana.

99. On April 10, 2010, Bosses within the Copper Region of the Outlaws met in
Lexington, North Carolina to discuss official Outlaws business. During this meeting, Copper
Region Boss Lowry discussed an upcoming Outlaws function in Bozeman, Montana, and
described how every member of the Montana Chapter has a medical marijuana card and access to

high grade marijuana.
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100. On June 8, 2010, Banthem was stopped by law enforcement in lowa en route to
Virginia from Montana. Banthem possessed approximately five (5 ) pounds of marijuana and
wo firearms. Banthem had previously arranged to distribute the marijuana to an undercover
Outlaws member for $25,000.00.

(In violation of Tite 18, United States Code, Section 1962(d)).

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THE GRAND JORY PURTHER CHARGES THAT:

COUNT TWO
(Conspiracy to Commit Violence in Aid of Racketeering)

l. Atall times relevant to this Superseding Indictment, the Outlaws, as more fully
described in Paragraphs One through Seventeen of Count One of this Superseding Indictment.
which are realleged and incorporated by reference as though set forth fully herein, constituted an
Enterprise as defined in ‘Title 18, United States Code, Section 1959(b)(2), namely the Outlaws,
that is, a group of individuals associated in fact which was engaged in, and the activities of which
affected, interstate and foreign commerce. The Enterprise constituted an ongoing organization
whose members functioned as a continuing unit fora common purpose of achieving the
objectives of the Enterprise.

2. Atall times relevant to this Superseding Indictment, the above-described
Enterprise, through ils members and associates, engaged in racketeering activity as defined in
Title 18, United States Code, Section 1959(b)(1) and 1961(1), namely, acts involving murder,
robbery, and extortion, in violation of Tile 18, United States Code, Section 1951(a) and the laws
of the Commonwealth of Virginia, and the states of Maine, Minnesota, North Carolina, and
South Carolina, as well as narcotics traflicking violations in violation of Title 21, United States
Code, Sections 841 (a), 846, and 856(a)(2).

3. Beginning in or about March 2006, the exact date being unknown to the Grand
Jury, and continuing thereafter up to and including June 15, 2010, in Richmond, V irginia, in the
Eastern District of Virginia, and elsewhere, for the purpose of gaining entrance to and

maintaining and increasing position in an Enterprise engaged in racketeering activily, namely, the

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Overt Acts 30 and 31: Planned attack on members of the newly-formed
Merciless Souls MC, an HAMC support club, at Dinwiddie, Virginia on
September 20, 2008.

Overt Acts 37-39: Attack on members of Desperados MC members at the
Cockades Bar in Petersburg, Virginia on March 14, 2009,

Overt Act 44: Attack on an HAMC Prospect outside of a bar in Rock Hill,
South Carolina on May 9, 2009,

Overt Acts 53-59: Shooting of HAMC member in Canaan, Maine.

Over Acts 76-77; Planned attack on HAMC members at the Charlotte,
North Carolina Easy Rider Expo in January 2010.

Overt Acts 75, 79, 81-84: Planned murder of HAMC member in
Richmond, Virginia by using a firearm and/or explosives in early 2010,
Overt Acts 40-43, 45-47, 49-52, 60-62, 80, and 85-89: Joint efforts and
directives to assault rival gang members in 2009 and 2010.

Overt Acts 28-29: Assaults and threats of violence to intimidate others.

(In violation of Title 18, United States Code. Section 1959(a)(6)).
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THE GRAND JURY FURTHER CHARGES THAT:

COUNT THREE
(Violence in Aid of Racketeering)

1. The Grand Jury realleges and incorporates by reference the allegations contained
above in Paragraphs | through 2 of Count Two, as if fully set forth herein.

2. On or about March 14, 2009, in the Eastern District of Virginia and elsewhere
within the jurisdiction of this Court, the defendants WILLIAM DAVEY , Vk/a “Rebel,” HARRY
RIYNE MCCALL, CHRISTOPHER TIMBERS, a/k/a “Alibi,” LESLIE WERTH, a/k/a “Les.”
WILLIAM POWELL, a/k/a “Torch,” and DENNIS HALDERMANN, a/k/a “Chew Chew,” aided
and abetted by cach other and by Michael Mariaca, a/k/a “M&M,” Michael Smith, Charles Love,
wk/a “Chuck,” a/k/a “Rebar,” Charles Barlow, wk/a “Chuck,” and for the purpose of gaining
entrance to, and maintaining and increasing position in, an enterprise engaged in racketeering
activity, namely, the Outlaws, did commit assault with a dangerous weapon against certain
members of the Desperados Motorcycle Club in violation of the laws of Virginia, specifically,
Va. Code Ann. $§ 18.2-22, 18.2-51, and 18.2-282.

(In violation of Title 18, United States Code, Sections 1959(a)(3) and Section 2).

THE GRAND JURY FURTHER CHARGES THAT:

COUNT FOUR
(Possession of Firearms in Furtherance of Crime of Violence)

On or about March 14, 2009, in the Eastern District of V irginia and elsewhere within the
jurisdiction of this Court, the defendants WILLIAM DAVEY, a/k/a “Rebel,” HARRY RHYNE
MCCALL, CHRISTOPHER TIMBERS, a/k/a “Alibi,” and LESLIE WERTH, a/k/a “Les,” aided

and abetted by each other and by Michael Mariaca, a/k/a “M&M” and Michael Smith, in

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to the commission or possible commission of a Federal offense, namely the offense alleged in
Count Five of this Indictment.
(In violation of Title 18, United States Code, Section 1512(b)(3)).

THE GRAND JURY FURTHER CHARGES THAT:

COUNT SEVEN
(Possession of Firearm By Convicted Felon and Unlawful User of Controlled Substances)

On or about April 5, 2009, in the Eastern District of Virginia and within the jurisdiction
of this Court, the defendant, CHRISTOPHER TIMBERS, a/k/a “Alibi,” who had been previously
convicted of'a crime punishable by imprisonment for a term exceeding one year, and being an
unlawful user of controlled substances, did knowingly and unlawfully possess a firearm, to wit:
one Jennings, .380 caliber firearm, in and affecting interstate and foreign commerce.

(In violation of Title 18, United States Code, Sections 922(g)(1) and (3)).
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NOLLVOUTTY Fun LeRoy
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rights are subject to forfeiture to the United States pursuant to Title 18, United States Code,

Section 1963 (a)(2); and

c. have property constituting and derived from proceeds obtained, directly and

indirectly. from racketecring activity, in violation of Title 18, United States Code, Section 1962,

which property is subject to forfeiture to the United States pursuant to Title 18, United States

Code, Section 1963(a)(3).

3. The interests of the defendants subject to forfeiture to the United States pursuant to

Title 18, United States Code. Section 1963¢a)(1). (a)(2), and (a)(3), include but are not limited to:

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a 1990 HD FLHTC MC, VIN No. 1HDIDPLI6LY508807:

a 1967 HARLEY MC, VIN No. 67FLH1032;

#2005 HD MC, VIN No. IHDIFVW125Y629735;

a 1991 HD MC, VIN No. IHDIEALIIMY130648:

a 2006 HD FXSTBI MC, VIN No. }HDIJAB166Y059219;

4 2006 HD FLHT MC, VIN No. 1HDIDDV106Y619322:

a 2006 HD FLTR MC, VIN No. IHDIFSW} 16Y683253;

a 2003 HD FLHT CLASS MC, VIN No. IHDIDJV] 13642697;
a 1999 HD MC, VIN No. IHDIBHLIXXY060301:

@ 2005 HD FLHT MC,VIN No. IHDIDDV145Y644674;

a 2005 HD FLHTCI MC, VIN No. LHDIFFW145 631797:

a 2005 HD FLHPI (FI) MC, VIN No, HHDIFHW135Y622827;
’ 2006 HD FLXHIE MC, VIN No. 1HIDI KBW186Y610246,

42004 HD FLHR MC, VIN No. LHDIFDV174Y 728626;

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42006 HD FLIXETMC, VIN No. HDI KBW126Y 703697;

a 2006 HD FLHTCU MC, VIN No. IHIDIFCW136Y676245;

a 2004 HD FXII MC, VIN No. IHDIGMW154K 306742;

a 2003 HD FLIIT MC, VIN No. IHD IFCW133Y607664;

Real Property and improvements known as 328 Houston Street, Charlotte, North

Carolina 28214: and

Real Property and improvements known as 14420 Lord Fairfax Highway, White

Post, Virginia 22663.

Pursuant to Title 18, United States Code, Section 1963(m), the defendants shall

forfeit substitute property up to the value of the property described in the previous paragraph if

that property, as a result of any act or omission of the defendant:

(a)
(b)
(c)
(d)

(c)

cannot be located upon the exercise of due diligence;

has been transferred or sold to, or deposited with, a third party;
has been placed beyond the jurisdiction of the court;

has been substantially diminished in value; or

has been commingled with other property which cannot be divided without
difficulty.

If property subject to forfeiture cannot be located, the United States will seek an order

forfeiting substitute assets.

(In accordance with Title 18, United States Code, Sections 1963(a) and 1963(m), and Title 21,
United States Cade, Section 853(a)(2).)

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A TRUE BILL:

 

NEIL H. MACBRIDE
Ly STATES ATTORNE

By: jel A. Z

Dennis M. Fitzpatrick (

rane
Peter S. Duffey

Assistant United States Attorneys

  
 

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